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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                     CASE NO. 21-80178-CR-MARRA/MATTHEWMAN



 UNITED STATES OF AMERICA,
           Plaintiff,
 v.

 JONATHAN P. BONNANO,
          Defendant.
                                      /

                          TEMPORARY NOTICE OF APPEARANCE

        The undersigned attorney hereby files this temporary notice of appearance as counsel on
 behalf of the Defendant, JONATHAN P. BONNANO, in the above-styled case and requests that
 copies of any and all pleadings, notices, correspondence or any other matters pertaining to this
 cause be directed to him on behalf of the Defendant.
        This appearance is limited to representation before the District Court for bond hearing
 purposes only.
                                 CERTIFICATE OF SERVICE


       I HEREBY CERTIFY that a true and correct copy of the above and foregoing was

furnished to: The Office of the United States Attorney this 18th day of November 2021.


                                             Respectfully submitted,

                                             By: s/ Michael Mirer
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                                                Florida Bar No. 0119490
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                                                Miami, FL 33132
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